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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                              FORT LAUDERDALE DIVISION

                                 CASE NO. ________________

 ALLTECH COLLISION & PAINT, LLC,
 (a/a/o Aquabliss Pool Services, Inc.),


        Plaintiff,

 v.

 STATE FARM MUTUAL AUTOMOBILE INSURANCE
 COMPANY,

       Defendant.
 ________________________________________/


                                    NOTICE OF REMOVAL

        Pursuant to 28 U.S.C. §§ 1332, 1441, and 1446, Defendant State Farm Mutual Automobile

 Insurance Company (“State Farm”) hereby gives notice of removal of this action from the County

 Court in and for Broward County, Florida, where this action was commenced, to the United States

 District Court for the Southern District of Florida, Fort Lauderdale Division, the district and

 division embracing where this action was filed in State Court.

        In support of this Notice of Removal, State Farm states:

 I.     THE REMOVED CASE AND PAPERS FROM REMOVED CASE

        1.      The removed case is a civil action commenced in the County Court in and for

 Broward County, Florida in the matter styled Alltech Collision & Paint, LLC, (a/a/o Aquabliss

 Pool Services Inc.) v. State Farm Mutual Automobile Insurance Company, Case No. CONO-23-

 003653.




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        2.      Attached to this Notice of Removal as Exhibit “A” is a copy of the complaint in the

 removed action (“Complaint”). Attached to this Notice of Removal as Composite Exhibit “B” are

 copies of all other process, pleadings, and orders served upon State Farm as well as all other papers

 or exhibits from the State Court file. Thus, State Farm has complied with the provisions of 28

 U.S.C. § 1446(a).

        3.      The removed case was filed on April 28, 2023 and the Complaint was served on

 State Farm on May 5, 2023.

        4.      At the time the removed case was filed and served upon State Farm it was not

 removable because the amount in controversy was less than the jurisdictional minimum. As of the

 date the removed case was filed in State Court, Exhibit “A” shows Plaintiff was seeking

 compensatory damages of $21,986.70 plus a statutory award of attorneys’ fees. The amount of

 attorneys’ fees which Plaintiff could have incurred as of the filing date in State Court could not

 have been sufficient, when added to the compensatory damages sought of $21,986.70, to satisfy

 the jurisdictional minimum of $75,000 exclusive of interest and costs. Indeed, as explained in

 paragraph 5 below, on October 19, 2023, Plaintiff’s counsel asserted Plaintiff was entitled to

 $6,000 for attorneys’ fees and costs as of October 19, 2023.

        5.       On October 19, 2023, State Farm’s counsel received the email attached hereto as

 Exhibit “C” from Plaintiff’s counsel. Exhibit “C” asserts that, on October 19, 2023, Plaintiff was

 seeking $81,861.70 in compensatory damages comprised of “teardown” costs of $45,111.70 and

 storage fees of $36,750. Exhibit “C” further asserts that storage fees would continue to accrue at

 the rate of $150 per day. In addition, Exhibit “C” asserts, as of October 19, 2023, attorneys’ fees

 and costs totaled $6,000.




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        6.      Exhibit “C” constitutes an “other paper” from which it may first be ascertained that

 the removed case is one which has become removable in accordance with the provisions of 28

 U.S.C. § 1446(b)(3) because it shows the amount in controversy, as of October 19, 2023, exceeded

 $75,000 exclusive of interest and costs. Indeed, Exhibit “C” shows: (a) Plaintiff’s alleged damages

 to be $81,861.70 plus $6,000 in attorneys’ fees and costs and (b) that Plaintiff’s alleged damages

 for vehicle storage continue to accrue after October 19, 2023 at the rate of $150 per day.

        7.      As of the date of this removal, the amount in controversy continues to exceed

 $75,000 exclusive of interest and costs. On November 16, 2023, State Farm to delivered to

 Plaintiff’s counsel a payment of $5420 representing the amount State Farm agreed Plaintiff was

 due for teardown and storage. After this payment, Plaintiff still claims $76,441.70 for teardown

 and storage expenses through October 19. As of the date of this removal, Plaintiff also claims an

 additional 29 days of storage from October 20 through November 17 at the rate of $150 per day

 totaling $4350. Thus, as of the date of this removal, Plaintiff claims $80,791.70 in damages, as

 also shown graphically, in the table below.



         Date         Item               Amount of Damages             Running Total of
                                         Claimed Excluding             Plaintiff’s Alleged
                                         Interest, Costs and           Damages Excluding
                                         Attorneys’ Fees               Interest, Costs and
                                                                       Attorneys’ Fees

         Oct. 19,     Plaintiff’s  $81,861.70                          $81,861.70
         2023         Demand Email
                      (Ex. “C”).

         Nov. 16,     State Farm Pays                                  $76,441.70
         2023         $5420 for
                      teardown costs
                      and storage fees




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         Date        Item                 Amount of Damages             Running Total of
                                          Claimed Excluding             Plaintiff’s Alleged
                                          Interest, Costs and           Damages Excluding
                                          Attorneys’ Fees               Interest, Costs and
                                                                        Attorneys’ Fees

                     it agrees are
                     owed.1

         Oct. 19-    Plaintiff’s       $4350                            $80,791.70
         Nov. 17     claimed storage
                     fees through date
                     of Notice of
                     Removal




        8.      Pursuant to 28 U.S.C. § 1446, this Notice of Removal is timely because removal is

 being effected within 1 year of the commencement of the action and within 30 days of receipt by

 State Farm (through its counsel) of an “other paper” from which it may first be ascertained the

 removed case is one which has become removable. See 28 U.S.C. § 1446(b)(3).

 II.    NATURE OF ACTION

        8.      This is a civil action between the parties. Plaintiff brings this case as the assignee

 of non-party Aquabliss Pool Services Inc. (“Aquabliss”).




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   State Farm also paid $306.88 in interest on the $5420 amount plus the $6,000 in attorneys’ fees
 and costs claimed by Plaintiff. These amounts do not bring the amount in controversy below the
 jurisdictional minimum because interest is excluded from the amount in controversy by statute
 and, even though Plaintiff claims attorneys’ fees as an element of its damages, the amount in
 controversy is more than met without the necessity of accounting for Plaintiff’s claimed attorneys’
 fees. The attorneys’ fees are a “wash” because they are neither included in nor excluded from
 Plaintiff’s claimed damages. If they were to be accounted for, the net result would be the same as
 shown in the table because they would both be added to and deducted from Plaintiff’s claimed
 damages.



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         9.     The Complaint alleges Aquabliss sustained damages to its Dodge motor vehicle

 which was insured by State Farm. Exhibit A ¶¶ 4-6.

        10.     The Complaint further alleges State Farm breached its insurance policy by failing

 to pay for “covered losses” for which State Farm is allegedly obligated. Exhibit A ¶¶ 8-12

 III.   DIVERSITY JURISDICTION

        11.     Pursuant to 28 U.S.C. § 1332(a), “[t]he district courts shall have original

 jurisdiction of all civil actions where the matter in controversy exceeds the sum or value of

 $75,000, exclusive of interest and costs” and is between “citizens of different States.”

        12.     As explained in paragraphs 8-10 above, this is a civil action between the parties.

        13.     The Complaint alleges that at all material times, Plaintiff was a “professional

 association organized and existing under the laws of the State of Florida.” Complaint ¶ 2. The

 allegation Plaintiff was a “professional association” appears to be a scrivener’s error. More

 particularly for this removal, at the time the Complaint was filed, at the time of removal, and at all

 intervening times, Plaintiff was and continues to be a limited liability company organized and

 existing under Florida law, with its principal place of business in Boca Raton, Palm Beach County,

 Florida. See, Declaration of Daniel C. Johnson, attached hereto as Exhibit “D” (“Johnson

 Declaration”), ¶¶ 3-6 and Exhibits 1-4 thereto.

        14.     Inasmuch as Plaintiff is a limited liability company, its citizenship, for diversity

 purposes is premised upon the citizenship of its members. Flintlock Const. Services, LLC v. Well-

 Come Holdings, LLC., 770 F.3d 1221, 1224 (11th Cir. 2013). According to information provided

 by Plaintiff to the Florida Department of State, Division of Corporations (“Division of

 Corporations”), from August 4, 2021 to the present, Angelina Brikman (“Brikman”) as been

 Plaintiff’s only member. Johnson Declaration ¶¶ 6-7 and Exhibits 1-4 thereto. This is consistent



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 with Plaintiff’s website which identifies Ms. Brikman as Plaintiff’s “owner.” Id. ¶ 9 and Exhibit

 5 thereto.

         15.     At the time the Complaint was filed, at the time of removal, and at all intervening

 times, Brikman was and continues to be a citizen of the State of Florida because her domicile was

 and is the State of Florida. An individual’s citizenship is determined by his/her domicile.

 McCormick v. Aderholt, 293 F.3d 1254, 1257-58 (11th Cir. 2002). “Citizenship is ‘equivalent’ to

 domicile for purposes of diversity jurisdiction.” McCormick 293 F.3d at 257 (11th Cir. 2002).

         16.     According to records from the Division of Corporations, Brikman has been

 Plaintiff’s registered agent from August 4, 2021 to the present. Johnson Declaration ¶¶ 8 and

 Exhibits 1-4 thereto. Fla. Stat. § 605.113 (1) provides that an individual who serves as the

 registered agent for a limited liability company “must be [a]n individual who resides in this state.”

 Thus, Brikman’s residency gives rise to a presumption that she is a Florida citizen. Photo-Tech

 Inc. v. Pfizer Inc. 2010 WL 11508157 at *4 (M.D. Fla. August 24, 2010) (citing, among other

 authorities, King v. Cessna Aircraft Co., 505 F.3d 1160, 1171-72) (11th Cir. 2007)), as “recognizing

 a presumption that a person’s state of residence is also his state of domicile”.

         17.     Accordingly, as set forth in paragraphs 13-16, Plaintiff is a citizen of Florida for

 diversity of jurisdiction purposes.

         18.     At the time the Complaint was filed, at the time of removal, and at all intervening

 times, State Farm was a mutual insurance company organized and incorporated under the

 insurance laws of the State of Illinois with its principal place of business in the State of Illinois.

 Accordingly, State Farm is a citizen of Illinois.

         19.     The parties are, therefore, citizens of different states, and complete diversity of

 citizenship exists in this case.



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        20.     As demonstrated in paragraphs 5-7 above, while State Farm denies any liability to

 Plaintiff, the amount in controversy requirement is satisfied in this case because the complaint

 seeks damages in excess of $75,000 exclusive of interest and costs.

        21.     Therefore, this Court has original jurisdiction over Plaintiff’s claims because this is

 a civil action between citizens of different states where the matter in controversy exceeds the sum

 or value of $75,000, exclusive of interest and costs. 28 U.S.C. § 1332(a)(1). Accordingly, this

 case is removable under 28 U.S.C. § 1441(a).

 IV.    COMPLIANCE WITH 28 U.S.C. § 1446(d)

        22.     Pursuant to 28 U.S.C. § 1446(d), written notice of removal of this action together

 with a copy of this Notice of Removal, shall promptly be filed with the Clerk of County Court in

 and for Broward County, Florida, and served on Plaintiff’s counsel.

 V.     CONCLUSION

        WHEREFORE, State Farm has removed the above-captioned action from the County

 Court in and for Broward County, Florida, and respectfully requests that further proceedings be

 conducted in this Court as provided by law.

 Respectfully submitted on November 17, 2023.




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                                                /s/ Daniel C. Johnson
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                                                Telephone: (407) 849-0300
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                                                Attorneys for Defendant State Farm Mutual
                                                Automobile Insurance Company


                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing was furnished on

 November 17, 2023 by email to Cindy A. Goldstein, Esq. at pleadings@cindygoldsteinlaw.com

 and Kenneth J. Dorchak at pleadings@bhdlawfirm.com and kdpleadings@bhdlawfirm.com and

 by U.S. mail to Cindy A. Goldstein, Esq., Cindy A. Goldstein, P.A., 10100 W. Sample Road, Suite

 200, Coral Springs, FL 33065 and KennethJ. Dorchak, Esq., Buchalter, Hoffman & Dorchak, 1075

 NE 125th Street, Suite 202, North Miami, FL 33161



                                                     /s/ Daniel C. Johnson




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